        IN THE UNITED STATES DISTRICT COURT FOR THE
             MIDDLE DISTRICT OF PENNSYLVANIA


THE UNITED STATES OF
AMERICA ex rel. JESSE M.
POLANSKY, M.D., M.P.H.,
           Plaintiff,
                   v.
GEISINGER HOLY SPIRIT;                    Civil Action No. 1:20-CV-00599
GEISINGER COMMUNITY
MEDICAL CENTER;                           (Judge Conner)
GEISINGER MEDICAL
CENTER; SPIRIT PHYSICIAN
SERVICES INC.
           Defendants.




                                   ORDER

     AND NOW, this 6th day of May, 2024, upon consideration of Defendants’

Unopposed Motion to Extend Deadlines and Exceed Word Limits for Briefing

on the Motion to Dismiss Relator’s Amended Complaint, IT IS HEREBY

ORDERED that Defendants’ Motion is GRANTED as follows:

         1. Defendants’ deadline to respond to Relator’s complaint is extended by

            15 days up to and including May 28, 2024.

         2. Defendants’ brief in support of their motion to dismiss shall not

            exceed 17,500 words.
3. Relator’s deadline to oppose Defendants’ motion to dismiss is

  extended by 59 days after the date that Defendants file their brief.

4. Relator’s opposition to Defendants’ motion to dismiss shall not

  exceed 17,500 words.

                                   /s/ Christopher C. Conner
                                                          J.




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